4:08-cr-03148-RGK-CRZ        Doc # 175       Filed: 04/09/09   Page 1 of 1 - Page ID # 417




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )      Case No. 4:08CR3148
                                                  )
MICHAEL J. RAYNO,                                 )
                                                  )
                            Defendant.            )

                                            ORDER

       THIS MATTER comes before this Court on defendant's Motion to Continue the

Deadline for Filing any Variance Motion and supporting brief, filing 174. The Court, being

fully advised in the premises, finds that said Motion should be granted.

       IT IS THEREFORE ORDERED that the defendant shall file any Variance Motion

with supporting Brief no later than April 17, 2009.

       Dated this 9th day of April, 2009.

                                                  BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
